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Honorable Judge Hogan,


    It is with a heavy heart, remorse and anguish that I write this letter to you. I write to tell you a
little about myself and how I ended up in Washington D.C. on January 6, 2021. My name is Annie
Christine Howell, I am 31 years old and come from Swoyersville PA. I am the mother of a beautiful
8 year old little boy. I am the daughter of an amazing woman--a former city council woman and
a teacher, who went on to become a doctor and a hardworking union worker. She worked at
three jobs when I was a child to support my sister and me.             She was always focused on
continuing her own education.


          We come from a small town called Forty Fort, PA. It is a close knit community and I was
heavily involved in small town politics, due to my mother’s political involvement. Today, I feel
honored to have this opportunity to provide to your honor, information of my original motivation
that led to my presence at the Capitol on January 6, 2021. What I have learned since then. What
concrete actions I have taken since then. How I have furthered my personal education. Finally,
the consequences of my participation in the riot on January 6, 2021 to my small son and to my
family.


How I wound up in Washington DC on January 6th, 2021:


          Although I do not consider myself to have come from a “political” background, I was
surrounded by politics from a young age. At the age of 6, I was introduced to the Mayor of my
hometown at a local council meeting. I was brought to various political and fundraising events
within the community. Two generations before I was even born, my great aunt became the first
elected woman to city council in 1979. My mother became the second ever elected city council
woman. My greatuncle, was elected as Luzerne County Commissioner, where he served the
public for many years with distinguished accomplishments. My family members were successful
in their private and their political careers.


          I watched political events and learned how things in my small town were politically driven.
Success unfortunately was all about whom you “know”. The key thing, that stuck to me was how
dirty local politics could be. Personally, we were the object of small and large hostilities. A cinder
block was thrown through our living room window by a political opponent when my mother was
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running for mayor. The campaign was fueled by hatred and ruthlessness that lead to character
assassination rather than a focus on social policy and what was required to improve the current
issues our town faced.


       I think that while this certainly was confusing to me as a child, it ultimately shaped how I
felt about politics for most of my young adult life. I learned that politics can be dirty. Lies can be
told. Promises broken. And that no matter what good intentions you may start with, ultimately
local politics was a vicious dog eat dog fight that could be challenging and even dangerous.


        In 2009, I met my son’s father with whom I spent 8 years of my life. His profession and
passion from the time he was a child was to making money and create passive income. His
ambition was to create generational wealth that could be passed on to our child. Every effort
was directed to providing our son a better way of life. As his career in Real Estate grew, so did
mine. We began to “flip homes” together. This led to us investing in a Real Estate brand that
offered Real Estate tutorials by a man named Robert Kiyosaki. I was introduced to a book called
“The Midas Touch”, which was written by Donald Trump. The book glorified his life, his skills and
most of all his assets. The book portrayed him as a master negotiator. That anything he touched
would turn to gold.


       I began to follow him in the news prior to the 2016 election because of the tutorials,
classes and Trump’s lessons and experience in Real Estate. I supported Donald Trump in 2016
but at that time I did no volunteer work to promote his campaign. I supported him via social
media and was public about my support for his campaign in social media posts. I talked with
local voters about him and displayed yard signs at my home and bumper stickers on my car.


       In 2020, I was living in Ocean City, Maryland and I traveling between Maryland and
Pennsylvania. My son’s father and I were still friends. He made rubber bracelets with “Trump
2020”. He asked me to sell bracelets on the Boardwalk. I sold most of what he gave me but he
had more Trump paraphernalia, with the election approaching. On my return to Pennsylvania I
went to the Republican headquarters to see if they would be interested in buying or displaying
his materials. At the Republican office in Kingston Pennsylvania, I told an employee that I had
designed one of the window signs on display there. We began to talk and he recruited me to be
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a volunteer. I agreed and participated in “contests” to see who could get the most new voter
registrations.


       There were also events held at the office and at various other locations. I met other
volunteers and Republican officials. I developed personal and political relationships. As I have
an outgoing personality I was used for recruiting. The Party also used my skill as a graphic
designer. I began to design flyers and other signage for local events. I met Betsy Greene who
ran a group called “Women and Men for Trump NEPA. She invited me to an exclusive, invitation
only, dinner with Eric Trump. From that point on, I became more politically connected. I was
surrounded by Congressman, Senators, even Trump advisers. I helped set up security for Trump
and his family with the secret service.


       By this point in time I had a large social media following and was enthusiastic about the
2020 election and Donald Trump, my candidate. I was promised future benefits, including a
possible White House job for my hard work, my loyalty and my dedication to Trump and his
family. Immediately following the election, I was asked directly by a Trump adviser and supposed
close friend to help collect affidavits from PA. residents in eight [8] Pennsylvania counties.


       On January 6, 2021 I understood that Biden had won the election. I came to Washington,
DC with three individuals who had also worked to promote Trump for the election. My intent was
to see the President for one last time in person. The worst thing I was led to expect could occur
was an altercation with Antifa. I also was led to believe there was a small possibility Vice
President Pence would not certify the electoral votes.


What I have learned:


       January 6th, 2021 was supposed to be a day of democratic protest, patriotism and unity.
Instead, it was an egregious instance of extremism. It was a riot. Propelled by propaganda,
hatred, fear, political division, manipulation and violent characters with radical ideologies. I have
learned that fear can cause people to act irrationally. Individuals in powerful roles are able to
nurture fear and to channel that fear for their own agenda. I learned that a single decision can
change the course not only of your life, but also of history.
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What consequences I have suffered:


       Since January 6th, I have suffered tremendous consequences. The consequences my
son, my father, my extended family and my beloved country have suffered have been even more
impactful. I cannot begin to explain how deeply my family has suffered by my mistaken and
illegal decision to enter the Capitol. The pain and suffering has been tremendous. My family and
I had severe financial and economic consequences. The mental and spiritual suffering has cut
deeply as well. The public shame and my embarrassment of having participated in an attack on
our democracy lives in my heart and remains a heavy burden. I have not only lost a business,
but lost clients, customers, friends, and even family. I have lost the respect of members of my
community because I let them down and participated in a day of infamy and violent extremism.
I lost my notary commission. I lost the right to carry or possess a firearm. To travel outside of
Eastern Pennsylvania, without Court authorization. And most importantly, I could lose my liberty.
I could even lose custody of my son over my wrongful decision on January 6, 2021. My child’s
father is petitioning for full custody based on my actions and my arrest for this terrible mistake.


Actions I have taken since January 6th, 2021.


       After my arrest, I ended all allegiances and alliances with the Pennsylvania Republican
Party. Not only did I end contact with those with whom I had been closely associated, but I also
changed my voter registration. I stopped watching all political news. I stopped following politics
on social media. I felt I had been deceived and made the decision to cut politics out of my life.


        I have expressed tremendous remorse, I publicly apologized for my actions leading up
to January 6th and on January 6th, 2021. I requested to meet with the FBI and I was permitted to
participate in a virtual interview with the Government attorney and law enforcement. I sought an
early plea so that I could publicly accept responsibility for my illegal actions in the Capitol.


       When I was invited to speak to the House Committee investigating January 6th, 2021 I
agreed to meet with them virtually. I have met with the committee four times, along with my
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attorney. I have volunteered to perform community services at my local VA and the Salvation
Army. I sought and entered an early plea. I am in compliance with the requirements of Pre-trial
Services. I have not violated any terms of the conditions of release.


        For my personal growth and education I have participated in an online course Tuesday
evenings to learn about the U.S. Constitution, the Bill of Rights, and the Constitutional
Amendments. I have studied civics and how to become a better citizen. I have spoken to my
son about the personal and national consequences of my unlawful conduct January 6th, 2021. I
have tried to educate him and to teach him good decision making and how to become a good
school and community citizen. I


       In the future I hope to perform small acts of civic responsibility. Finally, I have read books
and written reports on the many books my attorney, Heather Shaner, suggested. I have read
history and civics books, graphic novels and works of historic fiction. The readings have helped
me to learn about the effect of historic racism. Our national political divide, social injustice, civil
rights, and what must be done by each citizen to protect our democracy and our precious
freedoms. What we must do to end ongoing segregation and to work to end bigotry. I wrote
book reports to show you how extremely seriously I took my readings and personal education
and what I have learned from my studies.


       Judge Hogan, I humbly ask that you consider and take into account all that I have
expressed in this letter and that you see the genuine remorse I feel. I am deeply sorry for my role
and it will probably be the biggest regret I have ever had. I plan to continue to educate myself
and to make a continued efforts to be better human being -- not only for myself, but for my son
and for our country which I treasure and love.


Truly yours,
Annie Christine Howell
